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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI et al.,
                                              Civil Action No. 3:16-cv-01345-AWT
      Plaintiffs,
                                              Hon. Alvin W. Thompson
v.

YALE UNIVERSITY et al.,

      Defendants.

 DEFENDANTS’ MOTION TO COMPEL PLAINTIFFS’ EXPERTS AL OTTO
   AND DANIEL ALEXANDER TO ANSWER CERTAIN DEPOSITION
                        QUESTIONS

      Pursuant to Federal Rules of Civil Procedure 26, 30, and 37, Defendants Yale

University, Michael A. Peel, and the Fiduciary Committee on Investments

(collectively, the University”), respectfully move this Court for an order compelling

Plaintiffs’ expert witnesses, Daniel Alexander and Al Otto, to answer certain

questions that they improperly refused to answer during their depositions.

      As explained in the University’s accompanying memorandum, Plaintiffs’

experts refused to answer a number of questions regarding their prior work

experience, despite relying on that experience to determine their opinions in this case.

But Plaintiffs’ experts have not offered a valid reason why they could not answer

these questions beyond general, unspecified claims of confidentiality concerns and

non-disclosure obligations. These claims are insufficient to justify Alexander and

Otto’s refusal to answer relevant deposition questions. Accordingly, the University

asks that this Court issue an order compelling Alexander and Otto to participate in

additional depositions and to answer the University’s questions.

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      Defendants further request that this Court extend the expert discovery

deadline in this case to permit these additional depositions.

      Wherefore, the University respectfully requests that this Court extend the

expert discovery deadline and compel Alexander and Otto to answer certain

deposition questions.



Dated: December 20, 2019                    Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on December 20, 2019, a copy of foregoing document was

filed electronically using the Court’s CM/ECF system. Notice of this filing will be sent

by e-mail to all parties by operation of the CM/ECF system.



                                                          /s/ Brian D. Netter
                                                        Brian D. Netter




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